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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MONTEREY BAY MILITARY HOUSING, LLC, et al.,

                                 Plaintiffs,
         -v-                                               CIVIL ACTION NO.: 19 Civ. 9193 (PGG) (SLC)

AMBAC ASSURANCE CORPORATION, et al.,                                        ORDER

                                 Defendants.

SARAH L. CAVE, United States Magistrate Judge.

         Pursuant to the discovery conference held today, July 5, 2022 (the “Conference”), the

Court Orders as follows:

         1) By Tuesday, July 5, 2022, Plaintiffs shall circulate to all Defendants the proposed

               search terms for the documents in Clark Realty Capital, LLC’s (“Clark”) possession. By

               end of day, July 5, 2022, Defendants shall advise Plaintiffs and Clark of any proposed

               modifications to the search terms.

         2) By Friday, July 8, 2022, Clark shall advise the Court of the results of its search and

               propose a timeline to produce documents.

         3) By 5:00 pm on Monday, August 1, 2022, any party wishing to do so may file a letter

               of no longer than two (2) pages listing, without argument, outlining discovery disputes

               requiring the Court’s attention during the August 3, 2022 Conference. (See ECF No.

               472). Responses will not be permitted.


Dated:            New York, New York                    SO ORDERED.
                  July 5, 2022

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                                                        SARAH L. CAVE
                                                        United States Magistrate Judge

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